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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT

MARIO CERAME                                      :       CIVIL NO. 3:21-cv-01508(JCH)

      v.                                          :

EDWARD LAMONT, et al.                             :       JULY 18, 2022

             DEFENDANT’S OBJECTION IN REPSONSE TO THIS COURT’S
                     ORDER DATED JULY 11, 2022 (DOC. 37)

        Pursuant to this Court’s order dated July 11, 2022 (Doc. 37), the defendant 1, the Chief

State’s Attorney, respectfully objects to this Court’s intention to certify a question to the

Connecticut Supreme Court, in connection to the defendant’s pending Motion to Dismiss (Doc.

20). For the reasons that follow, the defendant submits that such certification is unnecessary to act

on, and grant, the defendant’s pending motion to dismiss.

        The defendant asserts that an answer to the question of “Does the speech alleged in

Cerame’s Complaint (paragraphs 13-18) come within the scope of the phrase ‘by his

advertisement’ as that phrase is used in Section 53-37 of the Connecticut General Statutes?” (Doc.

37) is not necessary and does not have any bearing on the defendant’s argument that this Court

lacks subject matter jurisdiction over this action as the plaintiff’s claim is barred by the Eleventh

Amendment. Indeed, the defendant submits that an answer to the question proposed by the Court

does not negate his argument that plaintiff has failed to overcome the Eleventh Amendment bar

because he has not – and simply cannot – establish that the defendant has a duty or any willingness

to enforce § 53-37. (See Doc. 20 at 9-20). The defendant continues to maintain that he is not clothed



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 In his Opposition to Defendants’ Motion to Dismiss (Doc. 28), the plaintiff concedes that the Eleventh
Amendment bars this pre-enforcement challenge to Connecticut General Statutes § 53-37 as to Governor
Edward Lamont. (Id. at 1-2) As such, the only remaining defendant in this matter is the current Chief State’s
Attorney (“CSA”).

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with any such duty under Connecticut law to enforce § 53-37 and, consequently, the plaintiff

cannot establish that the defendant is duty-bound to enforce § 53-37 under Connecticut law and

has resultantly failed to establish that the defendant is a proper party to this action for purposes of

Ex parte Young. (See Id.)

       Moreover, even if this Court were to certify such question to the Connecticut Supreme

Court, the answer to this inquiry does little to aid in the determination of whether the plaintiff has

established a concrete pre-enforcement injury-in-fact under Article III. In short, because plaintiff’s

purported injury necessarily hinges not on any actual restriction of his First Amendment rights but

on a purported chill on his speech, there simply is no basis for this Court to intervene when the

plaintiff continues to engage in his desired speech and has not been prosecuted for doing so. As

argued in the defendant’s motion to dismiss, setting aside whether the conduct alleged amounts to

the speech encompassed in § 53-37, plaintiff has not alleged any facts to suggest that enforcement

of the statute as to him or any of the conduct he alleges to engage in is “imminent” or “likely”

sufficient to overcome Eleventh Amendment immunity and invoke standing. (See Doc. 20 at 21-

26); See Knife Rights, Inc. v. Vance, 802 F.3d 377, 384 (2d Cir. 2015) (there must be sufficiently

imminent risk of enforcement to establish injury-in-fact in pre-enforcement actions); Goodspeed

Airport, LLC v. E. Haddam Inland Wetlands & Watercourses Comm'n, 632 F. Supp. 2d 185, 189

(D. Conn. 2009) (Ex Parte Young exception does not permit claims where enforcement actions are

not “imminent” and officials have not “made clear” they will seek to enforce statute).

       Furthermore, the Court need not obtain an answer to the certified question because the

“speech” alleged by the Plaintiff, which in no way resembles the conduct on which plaintiff claims

that historical prosecutions of § 53-37 have proceeded, cannot possibly fall under the definition of

“by his advertisement” when the plaintiff has not expressly alleged in paragraphs 13 through 18



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of his Complaint any the speech that could reasonably be defined as “advertisement”. The speech

the plaintiff refers to occurs among “other individuals or himself or both on the basis of Italian

heritage or on the basis of being an American national”, or “with his closest and dearest friends…

in an open forum with others present or on the internet” or “in his personal life” or as his work as

an “advocate for speech rights and association rights” or “in advising others on speech rights” or

by “enjoy[ing] the work of a number of comedians from a number of different backgrounds.” (Doc.

1, p. 2-4)

        Rather than certify the proposed question to the Connecticut Supreme Court, the

defendant encourages this Court to follow the plain meaning rule pursuant to General Statutes §

1-2z in construing the meaning of “by his advertisement.” See Ledyard v. WMS Gaming, Inc., 338

Conn. 687, 696 (2021). "When construing a statute, [o]ur fundamental objective is to ascertain and

give effect to the apparent intent of the legislature. . . . In other words, we seek to determine, in a

reasoned manner, the meaning of the statutory language as applied to the facts of [the] case,

including the question of whether the language actually does apply. . . . In seeking to determine

that meaning, General Statutes § 1-2z directs us first to consider the text of the statute itself and

its relationship to other statutes. If, after examining such text and considering such relationship,

the meaning of such text is plain and unambiguous and does not yield absurd or unworkable results,

extratextual evidence of the meaning of the statute shall not be considered. . . . The test to determine

ambiguity is whether the statute, when read in context, is susceptible to more than one reasonable

interpretation." (Internal quotation marks omitted.) State v. Marsh & McLennan Cos., 286 Conn.

454, 464-65 (2008); see also Rizzo Pool Co. v. Del Grosso, 232 Conn. 666, 676 (1995) (Rizzo).

        Here, the phrase “by his advertisement” is plain and unambiguous. As the Court determined

in Sherwood, adopting a Connecticut trial court’s interpretation of “advertisement,” means “a



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public notice, usually paid for, as of things for sale, needs, etc. which relates to a paid article to

bring the public's attention to something for the purpose of promoting the sale of the subject matter

in question.” Nat'l Socialist White People's Party & Fred Sherwood v. Southern New England

Telephone Company, et al., Civil No. H-74-230 (D. Conn. 1975) (three-judge court) (emphasis

added) (internal citations omitted) (See Doc. 20-2). This Court need look no further than this

definition, and thus certification of the proposed question is unnecessary.

       In sum, defendant respectfully submits that the Court should rule upon the defendant’s

Eleventh Amendment and standing arguments, neither of which require certification of the

proposed question, as discussed above.

                                               Respectfully submitted,

                                               DEFENDANT
                                               Richard Colangelo

                                               WILLIAM TONG
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                                         CERTIFICATION

        I hereby certify that on July 18, 2022, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by e-mail to all parties by operation of the Court's electronic filing

system. Parties may access this filing through the Court's system.



                                                /s/ Lisamaria T. Proscino
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